 

Case: 1:10-cv-06114 Document #: 86-7 Filed: 04/23/12 Page 1 of 30 PagelD #:397

 

IN THE UNITED STATES DISTRICT COURT 1 INDEX
NORTHERN DISTRICT OF ILLINGIS
wie EASTERN ae 2 WITNESS EXAMINATION
4s Plainiifl, ) ec saeasaves 3 NELSON GONZALEZ
City of Chicago Police} 4° «By Mr. Fox 5
Officer KEITH HARRIS, 5
Star #419547, Cityof —}
Chicago Police Officer —) 6
JEROME HOFFMAN, Siar#  } 7
49110. City of Chicago)
Police Officer SCHER,  } &
Cliy of Chicago Police — }
Oificer NELSON GONZALEZ, | 9
Star #7235 andthe CITY} 10
OF CHICAGO, ; }
Defendants. 14 EXHIBITS
The deposition of NELSON GONZALEZ, called
for examinalion pareve the ne oN 12 NUMBER MARKED FOR ID
ii ii istrict ars aos
connie the taka ot aannetiank taien 13. Gonzalez Deposition Exhibit
before Jennifer Buckley. a notary public within 14 No.4 49
and for the County af Cook and State of .
iinows, at 300 West Adams Street, Suite 330, 15 No.2 65
lliniois, on September 28, 2077, at thee hour of
it4a'clock pm, 16
V7
18
Jenifer Buckley
Licanse No: 084-004095 19
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BSS Sa Te ak ee oe Bek ca
ot — SC 8 ON Oo me WA

APPEARANCES: 1 (Whereupon, the witness was duly
ED FOX & ASSOCIATES 2 swom.}
BY: MR. EDWARD FOX 3 MR. FOX: Gan you state your name and spell
300 West Adams Street 4 your name for the record,
Suite 330 5 THE WITNESS: Sure. My name is Nelson
Chicaga, Illinois 60606 6 Gonzalez, N-e-l-s-o-n G-o-n-z-a-l-e-z,, My star
(312) 345-8877 Y number is 7235,
Representing the Plaintiff; a MR. FOX: Are you a patrol officer, sergeant,
8 or what?
CUISINIER, FARAHVAR & BENSON, LTD. [70 THE WITNESS: Police officer.
BY: MS, VICTORIA BENSON 11 MR.FOX: For the record this is the
200 West Adams Street 12 deposition of Officer Gonzalez being taken
Suite 430 13 pursuant to notice and pursuani to all the rules
Chicago, Illinois 60603 14 of the Federal Rules of Civil Procedure. Have
(312) 634-0412 15 you ever had your deposition taken before?
Representing the Defendants. 16 THE WITNESS: Yes.
7 MR. FOX: When was the last time?
18 THE WITNESS: I don't ramember how long ago
19 thal was,
20 MR. FOX: How many times has it been taken?
21 THE WITNESS: Twice,
22 MR. FOX: This is probably going to go along
23 the same lines as that. |'m going to-ask you a
24 ~—s series of questions, Jus! make sure you've

 

 

 

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1 heard me and understoad me before you answer. 1 A. | think about six years.
2 If not, let me know and I'll repeat or rephrase 2 Q. Before you worked in the narcotics
3. it. All right? 3. division, what district did you work?
4 THE WITNESS: Of course. 4 A. It wasn'ta district. twas a
5 MR. FOX: You understand to answer everything 5 citywide unit named Targeted Response Unit.
6  outtoud. Nods of the head don't work well, 6 Q. Before that how long did you work in
7 correct? Y that targeted unit?
8 THE WITNESS: Right. 8 A. | forget. About three years or so.
9 MR, FOX: You understand you're under penalty g Q. Allright. And then so for a short
10 of perjury just like as if you're testifying in 10 period of time did you work in a district?
41 court; is that correct? 11 A. Yes. Approximately a year or so in the
12 THE WITNESS: Of course. 12 25th district where ! started,
43 NELSON GONZALEZ, 13 Q. How, in the narcotics division that
14~scalled as a witness herein, was examined and 14 you're in now, that's what it's called, the
15 testified as follows: 15 narcotics division?
16 EXAMINATION 16 A. Yes.
17. BY MR. FOX: 17 Q. Allright. Do you report to any
18 Q. How many times have you testified in 18 particular district when you start your day?
19 court like in criminal cases? 19 A. No.
20 A. Many, hundreds. 20 Q. When you start your day, where do you
21 Q. How long have you been a police 21 go?
22 officer? 22 A. It depends where our investigations
23 A. it's gaing to be ten years in December. 23 ~take us, mostly south side of the city.
24 Q. And before you became employed with the 24 Q. And who assigns you your
5 7
1 Chicago Police Department, did you work for any 1 investigations?
2 other police departments? 2 A. The form of the question is kind of
3 A. No. 3. tricky. Sometimes it's not assigned but mostly
4 Q. Any police training? 4 our sergeant decides.
5 A. No. 5 Q. How do you get informed of what your
6 Q. {mean any military training? ['m 6 investigations are going to be?
7 sorry. 7 A. | guess that all depends on prior
8 A. No military training. 8 investigations. Sometimes we kind of work on
9 Q. What's your highest level of education? 9 our own as far as gathering intelligence,
10 A. Some college. 10 working with confidential sources, and sometimes
44 Q. Did you have a major? 11 we are assigned jobs or investigations from our
12 A. Yes. 42 sergeant or lieutenant.
13 Q. What was that? 13 Q. Currently do you work as part of a team
44 A. Computer science and mathematics. 14 of officers?
15 Q. Allright. How old are you? 15 A. Ido.
16 A. 32. 16 Q. How many officers are in your team?
17 Q. And what district do you currently work 17 A. | think there's eight officers and one
18 in? 18 sergeant in our team.
19 A. | do not work in a district. j19 Q. And all these officers would be in the
20 Q. What's your current assignment? 20 narcotics division as well?
21 A. Unit number is 189. It's the narcotics 24 A. Yes,
22 ~~ division. | 22 Q. And then for how long has this same
23 Q, How long have you been in that 23 team been together?
24 ~— division? 2" A. {t's kind of tricky because some people
6 8

 

 

 

2 (Pages 5 to 8)

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1 have come and gone, and | have been in that same 1 teams and | do speak to them from time to time.
2 team with different sergeants and different team 2 Q. Which officers do you see that are part
3 members for the six years so. 3 of this case do you see from time to time?
4 Q. Okay. Is the team cafled unit 189, or 4 A. Officer Keith Harris, Officer Hoffman,
5 does it have a different name? § Officer Scher. I'm trying to think who else was
6 A. No. Unit 189 refers to the narcotics 6 there.
7 division. The team number is B5, and that has 7 @. You said Hoffman?
8 changed over the last few years. 8 A. Yes.
2) Q. Albright. Back on the day of the 9 Q. Now, on the day on March 28 when you
10 arrest of Reno which was -- do you remember what 10 were -- you arrested or was part of the team
11. it was offhand? It looks like it was March 28 11 that arrested Reno, was it your typical team
12 of '09. Does that sound right to you? {2 that was working that day or did you borrow
13 A. It does sound right. 13 members fram another team, do you recall?
14 Q. What was the team called then? 14 A. We worked with another team on that
15 A. | don't know for sure. 15 ~~ day.
16 Q. Was it BS or do you know if it had a 16 Q. What team was that?
17 ~~ different name? 17 A. |'mnot sure the name of the team, but
18 A. It might have been BS. | just know it 18 | believe Sergeant Blanks was the head of the
19 has changed at some point a few years ago. | 19 team.
20 ~— just don't know if it was before or after that 20 @. How do you spell that last name?
21 ~~ particular day. 21 A. B-l-a-n-k-s.
22 Q. By the way, in preparation for this 22 Q. Okay. And was either Officer Harris,
23 ~=deposition today, did you review any documents? 23 Hoffman or Scher a member of that other team?
24 A. I did. 24 A. Harris was on my team and | believe
9 11
1 Q. What did you review? 1 Hoffman and Scher were members of that other
2 A. My surveillance report that | prepared. 2 team.
3 Q. Any other reports? 3 Q. Do you know why your team worked with
4 A. | think there was a what do you call 4 that other team this particular day?
5 those like she's doing over there? 5 A. It was a special mission named Surgical
6 Q. The transcript? 6 Strike.
7 A. The transcript from the criminal case 7 Q. Can you describe what that mission was?
8 that | testified to. 8 A. It's to combat violence in certain
9 Q. Did you review the entire transcript or 9 areas of the city. 1 guess the police
10 just your testimony? 10 departments put together like a mission named
11 A. Just my testimony. 11 Surgical Strike to pretty much go after crime in
12 Q. And so if! understand you, the only 412 ‘those areas utilizing narcotics and our
13 report you reviewed was your own or did you 13 undercover purchases.
14 review anybody else's report? 14 Q. And the Surgical Strike Mission was
15 A. So far! reviewed my own and [ looked 15 made up of officers who were in the narcotics
16 over the arrest report which was not my own. 16 division?
1? Q. Have you talked with any of the other 17 A. And I'm not sure if anyone else but |
18 officers about depositions that they gave in 18 just know the narcotics side of it and we were
19 ‘this case? 19 involved in that.
20 A. No. 20 Q. Allright. By the way, how did you get
21 Q. Have you talked to them at all? Have 21 ~~ onto the narcotics division in the first place?
22 you seen them since they gave depositions? 22 What did you have to do to get that assignment?
23 A. Yes. | work with Keith Harris still 23 A. | put in an application.
24 ~~ and some of the other officers work on different 24 Q. And then what happened when you put in
10 12

 

 

 

3 (Pages 9 to 12)

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1 your application? 1 period of time?
2 A. | was interviewed through ~- it was a 2 A. No way.
3 whole process. 3 Q. Did they suggest that they want a
4 Q. Interviewed by supervisors? 4 certain number without being told it's a
5 A. Supervisors, yes. 5 mandatory number?
6 Q. And what else was a part of that 6 A. No.
7 process that you can recall? 7 @. Now, you're famitiar with or are you
8 A. Background checks, urinalysis, 8 familiar with the use of marked money in
9 financial background checks, inteniews, 9 controlled buys?
10 resumes, you name it. They did everything. 10 A. I'm very familiar with that process.
11 Q. Allright. This was an assignment that 11 Q. Have you ever done that yourself, made
12 you wanted, or were you told you were supposed 12. acontrol by using 1505 funds?
13. to apply to it? 13 A. Yes.
14 A. No. it's a unit that | wanted. 14 Q. And so would if generally be true when
15 Q. Do you keep track -- you know what 15 you make a controlled buy using 1505 funds and
16 activity reports are? 16 the individual's ultimately arrested that you
17 A, | believe so. 17 made the buy from, you try to get the 1505 funds
18 Q. Do you keep track of your activity 18 back?
19  reporis? 19 A. We always make an attempt to get the
20 A. Ido not. 20 ©1505 funds back.
21 Q. Or have you ever looked at your 21 Q. And in your experience would it be
22 ~~ activity reports? 22 accurate to say you've arrested a number of drug
23 A. Qnce or twice, yeah. 23 dealers over the years?
24 Q. And the activity reports keep track of 24 A. Yes.
13 15
1 such things as traffic tickets, moving 1 Q. In your experience are some of the crug
2 violations, arrests, case reports, and that sort 2 dealers you've arrested over the years guys that
3 of thing? 3 have been selling drugs on the street?
4 A. Definitely arrests. I'm not sure if it 4 A. Yes.
5 keeps track of traftic violations. 5 Q. And in your experience do these folks
6 Q. All right. Now, as a member of your 6 generally or sometimes have stashes of narcotics
7 team, do you keep track of the arrests that your 7 nearby from where they're selling them?
8 team makes, the team that you're on now? 8 A. It's pretty common.
9 A. There's some sort of tracking done by 9 @. Do they also have money either on --
10 ‘the front office and our bosses. | personally 10 money from the sales either on them or from the
11. don't keep track. 11 stash nearby in your experience?
12 Q. Allright. Have any of your bosses 12 A. It's pretty common as well.
13. ever talked to you or spoken to you about the 13 Q@. All right. Now on the day of the
14 number of arrests that your team -- spoken to 14 arrest of Reno, part of your team was yourself,
15 you about the number of arrests that your team 15 Scher, Hoffman, and Harris; is that correct?
16 was making? 16 A. That was part of the team, yes.
17 A. No, not that | can recall. 17 Q. Was anybody else on your team that day?
13 Q. Do you know if any bosses -- have any 18 A. Yes.
19 other offtcers told you from your team that the 19 Q. Who else was on your team, can you
20 bosses have talked ta them about the number of | 2 recall?
21. arrests that they were involved with? 21 A. (think our sergeant was Sergeant
22 A. No. 22 = Butler at the time, and there's numerous other
23 Q. Are you told that you're expected to 23 officers ['m sure. | jusi cant remember who
24 have acertain number of arrests for any given 24 ~~ they were ai this time.
14 16

 

 

 

4 (Pages 13 to 16)

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1 Q. Let me just focus on the part of your 1 A. i don't know if | was the only one.
2 team -- part of your team at some point in the 2 Q. lf i showed you the names of the
3. day of March 28 of '09 located to the area of 3 officers on the report, would that refresh your
4 79th and Essex? 4 recollection?
5 A. 79th and Essex, correct. 5 A. That could refresh my recollection of
6 Q. Allright. Was there any other members 6 who may have been there.
7 of your team other than the four officers we've 7 MR. FOX: All right. What I'll do is [‘ll
8 just been talking about that were located to 8 show you -- okay. Pm going te show you what's
9 that area? 9 previously been marked as Harris No. 3 but what
10 A. I'm pretty sure there was. To tell you 10 = tll do is just put the sticker over it and
11. for sure who or how many, I'm not sure. 11. we'll call it Gonzalez 1.
12 Q. If you looked at the names of the 42 (Whereupon, Gonzalez Deposition
13 officers on one of these reports, would that 43 Exhibit No. 1 was marked for
14 — refresh your recollection? 14 identification.)
15 A. That could refresh my recollection of 15 BY MR. FOX:
16 who may be there. | just don't remember 16 Q. Now, for the record what we've
17 visually seeing them there at the time. | just 17 identified as Gonzalez 1 is it's a two-page
18 don't remember that. 18 report. It's a Narcotics Section Supplementary
19 Q. All right. Would it be -- have you 19 Report with the signature of B. Gonzalez at the
20 done these Surgical Strike Missions before this | 20 bottom.
21 ~~ date? 21 ALON,
22 A. | think so. | think there are numerous 22 Q. I'm sorry. N. Gonzalez at the bottom:
23 Surgical Strike Missions, but I'm not sure if 23 is that correct?
24 _ that was the first one or not. 24 A. Yes.
17 19
4 Q. Do you have a procedure or a custom of 1 Q. And then looking, you saw the names of
2 how many officers generally locate to a certain 2 the narcotics team B5 on there; is that correct?
3 area when you do a mission like this one we're 3 A. That's correct.
4 talking about? 4 Q. Does that -- and on the second page
5 A. There's no like rule set in place, just 5 there's also narcotics teams B3 and 2. Do you
6 enough so that the undercover officer has enough 6 see that?
Y help if he needs it for safety measures. 7 A. Ido.
8 @. As |understand it, there's going to be 8 @. Does looking at that refresh your
9 asurveillance officer; is that correct? 9 recollection as to who else may have beena
10 A. Yes. 10 — surveillance officer in the vicinity of 79th and
11 Q. There's going to be an undercover buy 11. Essex on the day of March 28, ‘09?
12 officer; is that right? 42 A. Yes.
13 A. Most of the time, yes. 13 @. And who?
14 Q. There's going to be enforcement 14 A. Officers Getlon, Grubs, Thompson. |
15 officers, correct? 15. did mention Scher already, Hoffman and Blanks.
16 A. Correct. 16 Q@. Soa let me ask you about that. Scher
7 Q. Is there any other designations of 17 and Hoffman they're labeled on here enforcement
18 officers that participate in this? 18 ~~ officers?
19 A. The surveillance could be multiple 19 A. That's correct.
20 officers, so it doesn't have to just be one 20 Q@. That would be different as a
21 ~~ officer. 21 surveillance officer?
22 Q. Okay. On this particular day March 28 22 A. Correct.
23 were you the only surveillance officer in the ! 23 Q. And then the other surveillance
24 ~~ area of 79th and Essex? 24 ~— officers who may have been in the vicinity of

18

 

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5 (Pages 17 to 20)

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4 79th and Essex this day were who again? I'm 1 you have an area that you were going to patrol
2 sorry. 2 and look around for possible activity that you
3 A. Officers Getlon, Grubs, and Thompson. 3 might want to further investigate?
4 Q. Allright. Do you know if, in fact, 4 A. It's typical with Surgical Strike
5 _ they were surveillance officers in that vicinity 5 Missions. i just don't remember what the
6 by having your recollection refreshed with this? 6 geographical limits were, but they usually give
¢ A. | don't remember if they were there. 7 us an area to concentrate on.
8 Q. Do you know where they were -- Let me 8 Q. Who would have given that to you, the
9 state it this way. Was it your understanding 9 sergeant or someone else?
10 they were supposed to be in that area that day? 10 A. It would have been assigned by the
11 A. Based on the report, they may have been 11. sergeant to us.
12 ‘there. | just don’t remember if they were there 12 Q. Allright. So in any case you were
43° or not. 13 likely given some geographical area to
14 Q. Okay. If they were there, would you 14 investigate that day, and during the course of
15 have expected them to write some sort of report 15 that investigation you came to the intersection
16 of their observations or no? 16 of 79th and Essex. Is that fair?
17 A. No. 17 A. That is fair to say, yes.
18 Q. Have you talked to them about the 18 Q. Were you in a car by yourself, or did
19 arrest of Reno or this lawsuit at all? 19 you have a partner with you?
20 A, No. 20 A. Iwas ina vehicle by myself.
21 Q. So ijet's go to -- going to this 21 Q. This is an unmarked covert vehicle?
22 particular day, why did you go to the -- you 22 A. It was unmarked and it was covert.
23 yourself you went to the vicinity of 79th and 23 Q. So it didn't have an M license plate on
24 Essex; is that correct? 24 it?
Zi 23
1 A. That's right. 1 A. No,
2 Q. Why did you go to that vicinity? 2 Q. So when you got to the area of 79th and
3 A. Part of the Surgical Strike Mission | 3 Essex, tell me what did you see?
4 was part of a team that was working 4 A. | observed Reno dressed in a black
5 surveillance, and part of that job was to spread 5 — skull cap, black hooded jacket, black jeans with
6 out and look for possible targets of people 6 really obvious orange trim on his jeans. |
7 — selling narcotics. | went and spread out within 7 observed him walking east and west on the north
8 a specific general area of the city and came 8 _ side of the intersection and north and south on
9 across 79th and Essex where | observed later G the west side of the intersection of 79th and
10 ~~ identified Reno conducting what looked to be 10 Essex. And on afew occasions he stopped, had a
11. possible narcotic-related hand-to-hand 11.“ conversation with a persen. At one time it was
12 transitions with passer-bys. 12 afemale. Another time it was a male and
13 Q. Okay. Does the intersection of 79th 13. conducted what appeared to be a hand-to-hand
14 and Essex have a reputation of being an area 14 transaction.
15 where narcotics are sold? 15 Q. So when you say conducted what appeared
16 A. it may. It doesn't have that 16 to be a hand-to-hand transaction, describe what
17 reputation with me. 17 you saw him do.
18 Q. Had you ever arrested anybody before 18 A. You know, during the conversation with
19 that day at the intersection or near the 19 the subjects, Reno would appear to give items
20 intersection of 79th and Essex? 20 and accept items by hand.
21 A. | don't remember. 21 Q. Did you see money exchanged, being
22 Q. So at any rate were you -- did you 22 exchanged?
23 have -- when this day started out and you knew 23 A. | didn't know what was being exchanged
24 you were doing the Surgical Strike Mission, did 24 at that time.
24

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6 (Pages 27 to 24)

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1 Q. And how many times did you see this 1 were exchanging things with their hands?
2 happen before Officer Harris did his controlled 2 A. Somebody was giving something and
3. buy? 3 somebody was accepting something. And that's
4 A. A couple of times. | can only remember 4 why | said transaction. What the something was --
5 two occasions. There might have been more. 5 Q. You couldn't see?
6 Q. The two occasions you remember, though, 8 A. | couldn't see.
7 you remember one female and one male? 7 Q. But you were able to observe this
8 A. Yes. 8 transaction where one person was giving
9 Q. Do you remember what the female looked 9 something and one person was taking something
10 ‘like? 10 simultaneously on that corner. Is that fair?
11 A. Older, shorter, female, black female. 11 A. Pretty much, yes.
12 That's about it. She had a dark like a gray 12 Q. This was the corner where the ABC store
13. jacket on or something. It could have been a 13 was at?
14 coat. 14 A. That's pretty much it, yes.
15 Q. Do you remember anything else about 15 @. And then the transaction with the male,
16 her? 16 how long after the first transaction did that
17 A. That's pretty much it. 17 take place roughly?
18 Q. The male, what do you remember about 18 A. Well, | remember driving around to find
19 him? 19 my surveillance point location. So by the time
20 A. Also older gentleman with like a beard, 20 =| went around it was pretty quick. | don't
21 ~=~‘like a salt pepper beard. | want to say he was 21 realty remember how long but a minute maybe,
22 black as well. | can't remember exactly. 22 maybe two. It was pretty quick.
23 Q@. And which intersection -- this was at 23 Q. Because you're basically driving around
24 ‘the intersection of 79th and Essex? 24 ‘the block?
25 af
1 A. Yes. 4 A. Yeah. At that point that's the first
2 Q. Which, north, south, east, or west? 2 thing that got my attention.
3 A. It was by the ABC Cellular store which 3 Q. And the transaction with the male, was
4 was on the northwest corner. 4 that also in front of the ABC store on that same
5 Q. Both transactions were by the ABC 5 corner?
6 store? 6 A. Yeah. It wasn't exactly the same spot
7 A. Very close to the ABC Cellular store. 7 as the female, but it was really close to the
8 Q, So when you made these transactions, if 8 ABC Cellular store.
9 you could just describe the entire thing you 9 Q. On that same corner?
10 saw. Like was the female first or the male 10 A. That same corner.
11 first? 11 Q. Can you describe that transaction?
12 A. The female first and the male was 42 A. The same thing. | had a different
13 later. 13 angle, same conversation, and it would appear
14 Q. So describe the entire thing you saw 14 — either Reno was accepting or giving and the
15 — with the female. 15 other subject was doing the same.
16 A. Ijust remember, you know, passing by 16 Q. Allright. Did you see Reno go into
17 the first time, seeing a female and Rena 17 the ABC store?
18 conducting the hand-to-hand where Reno and the 18 A. | did, yeah.
49 female were having this conversation and their 119 Q. When did you see him going into it?
20 hands were sort of clinched and just | don't 20 A. Actually several times 1 was observing
21. know how else to describe it, just that they 21 Reno go into the ABC Cellular store. | believe
22 made contact with their hands. 22 there's another store in the northeast corner
23 Q. It appeared to you the way you were 23 that he went into and also the southwest corner
24 motioning your hands, it appeared to you they 24 ~~‘ there’s another location at that corner that he

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7 (Pages 25 to 28)

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1 was going into. 1 anything?
2 Q. Okay. 2 A. No.
3 A. He spent a lot of time basically 3 Q. And specifically what ]'m referring to,
4 walking east and west on the north side and 4 did you hear him say anything like rocks rocks
5 north and south on the west side and going into 5 or in some fashion advertise that he was selling
6 these locations every so often. 6 narcotics?
7 Q@. Okay. And then did you radio this 7 A. No, | didn’t hear him say anything at
8 information as you were observing it to other 8 all.
9 officers on your team? 9 Q. Allright. In your experience
10 A. Na. At that time it was what | radioed 10 sometimes street dealers do yell things out to
11. was not the event or the hand-to-hand 11 advertise they're selling rocks. Does that
12. transactions but the fact that | believe there 12 happen with you? You've heard that?
13. was some kind of narcotic-related activity going 13 A. I've heard that, yes.
14 oninvolving Reno. And | wanted to send the 14 Q. Now, the male and female that you saw
15 undercover officer to go ahead and what we call 15 the transactions take place with, did you write
16 burp, which is just ask for drugs and see if it 16 down a description of them anywhere?
17 would work, 17 A. No, {| did not.
18 Q. So did you describe over the radio 18 Q. Dic you look to see where they were
19 anything about what you observed or what you 19 going after the transaction had ended?
20 ~~ thought you observed Reno io be doing? 20 A. No.
21 A. No. | gave a location and | gave a 21 Q. And so it was after you saw the second
22 description of Reno, physical and clothing 22 ‘transaction that you radioed then for Harris?
23 ~~ description as well as where he was last located 20 A. Some time after that second transaction
24 and gave the rest of the team an opportunity to 24 | did radio to team members and not specifically
29 31
1 get to this area of 79th and Essex. 1 to Harris.
2 @. And what time was this roughly? 2 Q. So what did you radio when you did
3 A. Like somewhere around 4:00 in the 3 radio to team members?
4 afternoon or something like that. | can't 4 A. [said -- | remember saying that | gave
5 remember exactly. 5 adescription of who on that particular
6 Q. Now, at that time what was the foot 6 intersection might be selling drugs, and that
7 traffic like in that intersection generally? 7 happened to be Reno at the time.
8 A. |wouldn't say heavy, but there was a 8 Q. And so then | take it you guys had your
9 few people out there. You know, at one point on 9 assignments in connection with what you were
10 the walking between the east and west sides of 10 going to do that day already decided or
11. the street and the north and south sides of the 11. determined before you got to that intersection;
12 street there was at one point at least five 12 is that right?
13 people at one given point. 13 A. Sort of. Some of the undercover
14 Q@. Were these male or female or both? 14 officers also work surveillance. And for some
15 A. Yeah, both, you know, different age 15 reason like | could have purchased narcotics as
16 groups. Mostly | didn't see anybody else but 16 well as a surveillance officer. There's no like
17 mostly black male and female. 17 — set -- except for enforcement officers, there’s
18 Q. When you say you saw at least five 18 no really set job.
19 people at one point, do you mean -- 19 Q. Well, it's more likely that you're
20 A. Walking in different directions. 20 ~~ going to have an Hispanic or a male black do the
21 Q. So you saw more than five people total 21 buy being an undercover officer as opposed to
22 in the time you were there? 22 some white guy that doesn't look like part of
23 A. Yeah, different people, sure. 23 the neighborhood or am | wrong about that?
24 Q. Now, could you hear Reno saying 24 A. You're a little wrong about that.

30

 

 

32

 

8 (Pages 29 to 32)

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1 Q. So it could be anyone? 1 anything with his pockets right now.
2 A. It could be anyone. 2 Q. Ifl'm understanding, you didn't
3 Q. Allright. But in this case, in this 3. visually actually see either drugs or money
4 afternoon were you designated the surveillance 4 exchanged? You just weren't sure what was being
5  offtcer? 5 exchanged. ts that fair?
6 A. There was no such like designation. | 6 A. That is fair.
7 just know that like either you're an enforcement 7 Q. So after the first transaction that you
8 officer or you're not. Enforcement officers 8 saw with Reno, did you see where he went?
9 have to drive an M plate car. They look like 9 A. | know that he went into the ABC
10 the police. They have a vest on. They have 10 Cellular store, but I'm not sure it was before
41 ‘their guns exposed. They're very visible. 11. or after that particular transaction. At some
12 And surveillance officers they could be 12. point he did go inside that store.
13 buy officers and vice versa and they're in 13 Q. And that's the store that's on the
14 covert cars basically and they con't look like 14 northwest corner?
15 the police. 15 A. Yes.
16 Q. Was the plan this day to try to do an 16 @. And then after the second transaction
17 undercover buy? | 17 did you see if he went into a store?
18 A. Yes. 118 A. Atsome point, yeah, /ater after that
19 @. And so on this day based on what you're j 19 he went into ! don't remember if it was the ABC
20 telling me, you could have wound up being either §20 Cellular store or the store just south of there,
21. anundercover buy officer or a surveillance 21. southwest corner. He did a jot of moving
22 ~— officer just depending on the circumstances? 22 ~~ around. | just can't remember the order of how
23 A. Yes. 23 ‘things happened at that time.
24 Q. Did you have any 1505 funds with you 24 Q. Okay. And then after you observed --
33 35
1 that day? 1. was it immediately after you observed the second
2 A. I don't remember. | do take money out 2 transaction that you made this call out on the
3 from the purser's office 1505 funds, and | just 3 radio about Reno and --
4 — don't remember if | did during that time. 4 A. [kind of recall after the first one as
5 Q. Sol take it when you radioed to other 5 | was positioning to have a better surveillance
6 officers describing that you thought this person 6 point, | was already on the radio saying here
7 — with Reno's description might be selling 7 might be a possible narcotics area or
8 narcotics, did you also radio to tell -- was 8 transaction or target.
9 there a plan set that Harris was going to be the 9 Q. And then | think you said you drove
10 = buy officer? | mean how did that happen? 10 around the block and saw another transaction?
114 A. It's pretty much in that case in 11 A. It wasn't actually around the block.
12 particular | radio what possibly might be 12 ‘It was further down the street. | think I did a
13. happening and whe the target might be in this 13. U turn and came back around. | don't remember
14 case, and it's up to whoever is closest to 14 — if | went all the way around the block or not,
15 answer up on the radio and say | want to do that 15 but | repositioned.
16 and I'll do it or something to that effect. And 16 Q. And where did you reposition to?
17 ‘| believe Keith Harris went on the radio and 17 A. The southeast corner there was a
18 — said I'm not too far away. I'll do it. So he 18 parking lot right at the corner. | positioned
19 was ready to purchase. 19 myself inside that parking lot.
20 Q. So when you saw Reno doing these two 20 Q@. Of the four corners that's the only one
21 ~~‘ transactions that you described, did you see him 21 that has a parking lot; is that correct?
22 ~~ put anything in his pocket or take anything out 22 A. That's correct.
23 ~~ of his pocket? 23 Q. Your vehicle was facing in a northerly
24 A. | just don't remember him doing 24 ~~ direction?
34 | 36

 

 

 

9 (Pages 33 to 36)

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4 A. North direction right up against the 1 A. To whoever was listening.
2. gate or fence. 2 Q. So they had a description of what Reno
3 Q. So from where you were sitting you'd 3. was wearing?
4 have a pretty good view of the entire all four 4 A, Yes.
5 corners? 5 Q. So once you gave -- once you observed
6 A. Yes. 6 Harris come to the scene, tell me what you
7 Q. Had you ever been before that day had 7 observed. You were able to observe Harris come
8 you ever been into any of the other three stores 8 onthe scene | take it?
9 that were on the other three corners? 9 A. Yes.
10 A. No. 10 Q. Tell me what you observed when he came.
11 Q. Did you go into any of those three 11. Where did he come?
12 stores after that day? {2 A. He parked his vehicle. It was a covert
13 A. No, sir. 13. vehicle. He parked it on the east side of the
14 Q. To this day have you been into any of 14 street just south of 79th on Essex and got out
15 those three stores? 15 of the car, walked a litile bit north and then
16 A. No. 16 kind of crossed over to the west side of the
17 Q. So how much time lapsed 17 street as he was walking north. And then he got
18 roughly -- Well, let me back up a little bit. 18 to the southwest corner of the intersection and
19 At some point then after you 19 proceeded to walk north toward Reno, got to
20s repositioned yourself, you observed Harris come | 20 Reno, hada short conversation with him.
21 ~~ onio the scene, correct? 21 Q. Is this in front of the ABC store?
22 A. Yes. 22 A. Pretty close to it, yes. They both had
23 Q. How much time roughly was it between 23. that short conversation. Reno | remember just
24 ‘the time that you observed the second 24 = you could tell that they were both in
a7 39
1 transaction and Harris came to the scene? 1 conversation as Reno turned and walked south on
2 A. A few minutes, less than ten. 2 the west side of the intersection toward the
3 Q. And then during this less than 3. southwest corner.
4 ten-minute time frame that went by from the 4 And shortly behind him was the
5 second transaction to seeing Harris on the 5 undercover at the time it was Officer Harris
6 scene, what did you -- what else did you see 6 following closely behind him. They stopped at
7 ~~ Reno doing, if anything? 7 — the southwest corner for a short period of time
8 A. [observed him standing at the 8 as Reno turned around and --
9 northwest corner near the ABC Cellular store. 9 Q. I'm sorry. You said the southwest
10 Q. And did you see any more transactions 10 corer?
11. or what you thought were transactions? 14 A. Yeah, at that time they crossed over to
12 A. At that time, no. 12 the southwest corner. There's some scaffolding
13 Q. Did you see him doing anything other 13 above them.
14 — than standing? 14 Q. Scaffolding in front of the store at
415 A. | can'tremember. | don't know if he 15 the southwest corner?
16 was in conversation or | pretty much just 16 A. Yes, southwest corner. And Reno turned
17 remember him standing there right now. 17 and spoke to the undercover Harris and Harris
18 Q@. And there was still roughly like a few 18 tendered Reno U.S. currency. | could see that.
19 people, like people walking around in the area? 19 It was definitely U.S. currency. Rene took the
20 A. They were around, yeah. It wasn't that 20  =money and turned around and went into the store.
21 ~~ ‘isolated. 21 Q. So you said you could definitely see
22 Q. So over the radio then you gave a 22 currency being handed from Harris to Reno?
23 description to Harris you gave, well, to all the 23 A. Yes.
24 ~— officers you gave a description? 24 Q. And could you tell what denomination it

36

 

 

40

 

10 (Pages 37 to 40)

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1 was? 1 thing you observed in connection with those two?
2 A. No. 2 A. Well, in connection with those two?
3 Q. And then Reno went into which store? 3 Q. Correct.
4 A. Well, im assuming it's a store. tt 4 A. Officer Harris took whatever object
5 kind of looked like a store, the southwest 5 that was given to him by Reno and proceeded to
6 corner, that building. 6 walk south back toward his vehicle, and at the
7 Q. [fs the one that had the scaffolding 7 same time Reno turned and went back into the
8 in front of it? 8 same location the southwest corer, that store
9 A. Yes. 9 — or whatever that building was.
10 @. And do you know what kind of store it 10 Q. Allright. And then were you making
11 Is? 11. any observations of anybody else at that
12 A. No. 12 intersection at that time?
13 Q. And then while this is going on, you're 13 A. Yes. There was a police car that
14 basically parked right across the street from 14 — showed up at that time, a marked police car that
15 the parking lot’? 15 was not involved with our mission.
16 A. Directly east. 16 @. And what happened? Describe what
17 Q. East of where they were? .17 happened with that police car.
18 A. East, yes. 18 A. Nothing. The police car just kind of
19 Q. And so | take it you would have had a 19 pulled over. !'m not sure why it was there. |
20 clear and unobstructed view of the whele thing? 20 had no communication with the officer. | have
21 A. The scaffolding might be in the way 21 no knowledge as to why or who the officer was or
22 every so often with the poles that come down but 22 ~~ why he was there, just that it was there for
23 =a really clear view. 23 some time and then at some point it drove away.
24 Q. Could you hear any conversation? 24 ~—‘| believe Reno was still in the store when the
44 43
1 A. No. 1 officer drove way.
2 Q. And so once Reno walked into the store 2 Q. So when you say he was still in the
3 onthe southwest corner after he was handed 3 store when the officer drove away, was this
4 money, did Harris remain on the corner? 4 — after Harris handed him the money that the
5 A. Yes. 5 police car arrived?
6 Q. And then what was the next thing that 6 A. Almost at the same time. The
7 you saw after Reno walked into the store? 7 ~~ money -- no. I'm sorry. Reno came out from the
8 A. Ashort period of time passed, came 8 — store, handed the objects to the undercover
9 back out of the store and had another 9 right around the same time as the officer was
10 hand-to-hand transaction this time with the 10 arriving and parking his marked police car. And
11. undercover officer. 11. the UCO took whatever it was that Reno gave him |
12 Q. And at this time did you observe Reno 12. and walked off to his undercover vehicle. The
13 to be handing something to the undercover 13 squad car was still on the scene as Reno went
14 ~— officer? 14 _ inside to the southwest corner store.
15 A. Yes. 15 Q. Where did the marked car park?
16 Q. And could you see what it was? 16 A. Just like directly north of their
17 A. No, no. Reno used his right hand. 17 location across the street basically, really
18 it's very much clenched and handed over whatever | 18 close to the ABC Cellular store.
19  objectit was to the undercover. 19 Q. Was it on Essex or 79th Street?
20 Q. So did you hear any conversation at 20 A. [believe it was 79th Street.
21 ‘this point in time between Reno and Harris? 21 Q. So it would have been facing westbound
22 A. No. 22 ~~ then?
23 Q. So after you observed Reno hand an 23 A. Westbound possibly. { know it was on
24 object back over to Harris, what was the next 24 =the corner. Which way it was facing, I'm not

42

 

44

 

 

11 (Pages 41 to 44)

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1 sure. | just know it was blue and white, and | 1 @. To your knowledge is ne still with the

2 remember like being surprised by it. 2 police department?

3 Q it just stayed there for a few moments? 3 A. I believe so.

4 A. A few moments, pulled over for whatever 4 Q. So you believe Sergeant Butler was the

5 reason and pulled off, yeah. 5 one that gave the order for the enforcement

6 Q. And when the car pulled up and you said 6 officers to come in and take custody of Reno?

7 it pulled up about the time that Reno was 7 A. Yeah. I'm not 100 percent sure about

8 handing something back to Harris; is that right? 8 that, but I'm pretty sure he might be.

9 A. Yeah, the second transaction. 9 @. And how much longer after -- you were
10 Q. When he came out of the store? 10 ~—abie to hear this over the radio | take it or
11 A. Yeah. 11. no?

12 Q. Did Reno appear to take any evasive 12 A. Hear what?
13. action when the police car pulled up, the marked 13 @. Hear the directive that the enforcement
14 car? 14 officer is to come to the scene and take custody
15 A. | would say going into the store is 15 of Reno.
16 pretty evasive, yeah. 16 A. That's the part I'm not sure. I'm not
17 Q. He went into the store after he handed 17 sure if the sergeant did or didn’t, but | kind
18 the items to Harris’? 18 of remember him doing it. It's very typical.
19 A. Yes. 19 It's very typical. lt happens nine times out of
20 Q. And then when you observed this, did 20 ‘ten.
21. -you observe him take any other evasive action 21 Q. Allright. But you don't remember
22 other than going back in the store? 22 ~~+~yourself doing it then, asking the enforcement
23 A. No. Once he was in the store, he was 23 officers to come?
24 out of my view; and what he was doing in there | 24 A. Wo.
45 47

1 couldn't see. 4 Q@. Do you ever do that?

2 Q. Allright. So as you were watching the 2 A. Every so often | would, yes. It's not

3 transaction take place between Harris and Reno, 3 as common as the sergeant doing it, though.

4 were you on your radio describing anything about 4 Q. Did you hear Officer Harris say

5 it fo anybody? 5 anything over the radio after the transaction

6 A. Yeah, yeah. 6 was done and he started walking away?

7 Q. And so you were describing what you 7 A. Yes.

8 were observing? 8 Q@. What did you hear Harris say?

9 A. Yes. 9 A. By the time he got into the vehicle and
10 Q. Allright. You were describing who 10 he turned on his radio I'm assuming at that time
11 Reno was | take it or his description? 141. got on to the radio and said it was a positive
12 A. Yeah. | did describe his description 12. transaction involving Reno. He didn't say Reno
13 atsome point, yes. 13. but he gave a description of Reno and the last
14 Q. And then did you -- was it you who then 14. known location where he was at and pretty much
15 told the enforcement officers that they should 15 described exactly what I saw.

16 come to the scene? 16 Q. Allsight. You had already done

17 A. No. | believe the sergeant at the time 17 something similar. You had gave a description
18 did. That's totally up to the sergeant most of 18 of what you saw?

19 the time | guess. 19 A. Correct.

20 Q. Allright. And was the sergeant in the 20 GQ. Somebody gives the directive for the

21 vicinity’? 21 ~~ enforcement officers to go and take custody?

22 A. tbelieve so. ji didn't see him. 22 A. Yes.

23 Q. What was the sergeant's name again? 23 Q. And then how much tonger -- how much
24 A. Sergeant Darwin Butler. 24 si time elapsed between the transaction and was it

46

 

48

 

 

12 (Pages 45 to 48)

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open OO hoeN BH OC eH OO ee S|

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that the officers, the enforcement officers came
on the scene?

4. |'m oot sure. | would assume somewhere
around ten minutes.

Q. Do you know why it would have taken
thal long?

A. Apprehending offenders of narcotic
transactions Involving undercover police
officers loo quickly somelimes give away the
undercover status of the officer. So that's
probably why it would take a little longer than
immediately,

Q. So during this time frame, the roughly
ten-minute lime frame before the enforcement
officers came, did you observe Reno again?

A. Yes. After the enforcement arrived?

©. No. Sefore the enforcement arrived.

A. No. i didn't see him

Q And you were able to see the slore
pretty clearly from where you were’?

 

Be a ee a ae a ee
oN oO fF ON Oo 6 ft 8) om ch oe te A =

they exited thelr enforcement vehicle
Q. Were they in a marked car or unmarked
car?
A. itwas —ifs nota blue and white but
it was definitely —
M plate car?
M plate car, yeah.
See them get out of their car?
Yes.
And then whal did you observe?
They walked into the store
And then did you while they were |n (he
, did you hear them say anything aver their
radios?
A [don remember if they said anything
on the radios.
. How long were they in the store before
they came oul?
A. I'm nat sure,
QO. Would it be |s it a matter of minutes

g ose >p>r>O

 

 

|21 A. Pretty clearly, yeah. 21 orisita half an hour?
Q. Did you remain where you were before 22 A. | would say a matter of minutes.
i23 the enforcement officers came? 23 Q. Allright. So when you see them come
24 A. Yes 24 ul with Reno, was Reno in handcuffs when they
49 51
——— = I
1 QO. My question is, you didn't see Reno 1 came out?
2 exit the store before the enforcement officers 2 4. | don't think so.
3. carne or did you? 3 Q. And so after they came out of (he
4 A | did net 4 store, what was the next thing that happened
5 QO While you were waiting for the 5 that you observed?
6 enforement officers lo come, did you see 6 A. Officer Haris and his vehicle was
7 anything alse of Interest to you at thal ? driving westbound on 78th, slowed down by Ihe
4 intersaction? 8 scene and continued westbound as he was an the
8 A. Idon'tthink so. 9 radio explaming jo the enforcement officers you
10 O So then when the enforcement officers 40 = got the right guy. That's the guy that sold me
47 came, that would have been Scher and Hoffman: am I" 1 the narcotics.
12 | cearract? 12 QO. Okay. Let me ask you, | mean you
13 A Yes 13. observed this whoie thing, too; is that right?
14 ©. And then what did you observe them do 14 A. Yes.
15 when they arrived? 16 Q. |s there any reason why you couldn't
16 A. They parked on the south side of the 16 have just said that's the guys who soid fim the
17 street facing eastbound on thal southwest 17 narcotics withoul having Harris to drive by?
4B socorner. 18 A. The only reason | could see js that
19 Q Say that again. Where did they park? 100 (Officer Haris had a closer view of who he's
20 A. They were on tne soulhwest comer and 20 = dealing with. It could very well happen where
21 thei vehicle is facing east bul lhey werg just 21 omy observations could have, you know, appéar fo
22 wesiof Essex, if that makes sense 22 = look like It's narcotics related. Like | told
23 OQ. Ad right 23s you, | didn't know what item was handed to
24 A: And once they got to that location, 24 ~~ undercover Harris but he does. So he should be
50 §2

 

 

 

 

13 (Pages 49 to 52)

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1 the one explaining who sold him the narcotics, 1 Q. All right. Now, at some point in time

2 notme, 2 did you see Reno back al the pallee station?

3 Q. Allright. So Harris drives by, slows 3 A. No.

4 down and makes an identification which he 4 Q. You didn't-sée him agaln that day?

5 announces over the radio | take it? 5 A. No. The enforcement officers pretty

6 A. Yes. 6 much deal with Reno from that point on while we

7 Q. And then what's the next thing you 7 process the reports in our office or somewhere

8 observe happening between the enforcement 8 away from Reno.

9 officers and Reno? 9 Q. Did you have any communications while
10 A. Shortly after that | just remember them 10 you were on your way back to the office with the
17 ~— putting him in the back of the squad car and 1. enforcement officers abou! what they had found
12 driving off. 12 when they detsined Reno?

13 Q. Did you get out of your vehicle? 13 A No. Usually we wait back al the
\14 A. No, | was always in my vehicle. 14 = distinct of our area of headquaners before we
/15 Q. Did you have any — they didn't have 15 find out what, i anything, was recovered

16 any trouble with detaining or did you see if 16 ©. So back at the atation you found out
17 they had any trouble detaining Reno? 17 ~~ that they did not recover any 1604 funds?

\18 A. There's a correction, | did say they 13 A Yeah, al some point, yeah.

19 drove off, and | can't remember if they drove 19 Q. And when you found that out, did you
20 off. | think | might have left when they were (20 ask anybody about that?

21 ~~ stiilthere. |'m sorry, What was your 21 A. No. It's pretty common, That happans
22 question? 22 alot.

23 Q. Did you see them having any trouble 23 Q. Well, did you find it unusual that no
24 with detaining Reno? 24 1506 funds were found in this case?

53 55

1 A. No. It did not appear that way. 1 A. No. Reno had plenty of time to hide it

2 ©. New, did you see them pat Reno down 2 if he wanted to or do whatever he wanted to get

3 while he was outside? 3 rid of it. So | was not surprised at all,

4 A. | don't remember If they patted him 4 Q Where in your opinion or in your mind

6 down or not while outside. 5 based on your expenance did he have to hide it

6 Q. Now, you said you never got out of your 6 in the time period that he had?

7 vehicle while you were at thal intersection on r 4 A. I've had experience where people have

6 that date, |s that whal you sald? 8 eaten the money or I've had experience where

9 A. | stayed in my vehicle. 9 someone ripped apan ail the money and threw it
10 Q. And then you lefl, and where did you go 10 oul the moving vehicle, t's vary common thal
11. when you left? 11 1505 funds are not recovered, yeah
12 A. | don't remember. Probably to process 12 ©. Weil, in this case did the officers,

13. = these reports al the area I'm assuming. | don't 13s the enforcement officers they didn’t tall you

14 remember exactly, 14s [nat they had any unusual time with Reno when

15 Q. Allright. Did you observe any of the 415 they went into the store, did they?

16 enforcement officers go into any of the other 16 A. [had no conversations about that, no.

17 two stores that were on the other corners? i7 @. They didn't report to you that they saw

16 A. No, | do not observe them go into the 18 him as if he was eating funds or trying to throw

19 other two stores. 19 ~~ anything away, did they?

20 ©. Allright. Did you observe any 20 A. No. |'m sure they thought it was

21 officers go into or were you ever notified that 27 common as | did

22. any of the other officers went into the other 22 OQ. Were you able to form based upon what

23 two stores to look around for anything? 23 the enforcement officers told you, were you able

24 A. No, | was not notified of that. 24 to form any opinion as to what happened to the
54 56

 

 

 

 

14 (Pages 53 to 56)

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1 1505 funds? js conversation with Reno or observe him going to
2 A. No. 2 any stash.
3 Q. Did the enforcement -- you would have 3 @. Was it your impression based upon what
4 expected the enforcement officers to look for it 4 you observed, was it your impression that after
5 | take it; is that right? 5 Harris handed him money, after you saw Harris
6 A. Yeah. We always try to retrieve the 6 hand him money that Reno was going into the
7 1505 funds. 7 ~~ store to get drugs? Was that your impression?
8 Q. Sa, for examole, if he would nave spent 8 A. That was my impression.
9 or possibly would have spent it in the store, 9 Q. Allright. Did you talk to anybody
10 you would have asked them to look in the cash {Q about going back to the store to see if there
11 registers or ask the people in the store about 11. were any drugs that could be located there?
42 it? 12 A. No, no. It's not uncommon not to find
43 A. Yeah. 1 mean | don't know what these 13 drugs at the location of where a possibfe stash
14 enforcement officers would do. | know | would 14 may be because he could have sold the last bit
15 ask ta see if the bills were in there. 15 of narcotics.
16 Q@. Right. And then you were alsa informed 16 Q. Right. Would you expect officers to
17 that no narcotics were found on Reno? 17 make an attempt to look for some, though?
18 A. Yeah. | don't believe there was any 18 A. Yes.
19 narcotics recovered from Reno. 19 Q. Did you ask any other officers if they
20 Q. Now, typically in your experience when 2Q had gone into the ABC store or the store that
21 ‘it's a drug dealer, they keep a stash of drugs 21° was on the other corner to see if there was any
22 nearby to sell drugs; is that correct? 22 drugs or stash in there, in those places?
23 A. Sometimes, yeah. 23 A. No.
24 Q. Would you have expected the enforcement 24 Q. Allright. Now, you said you did not
57 59
1 officers to look around a little bit in the 1 see Reno again that day; is that correct?
2 vicinity of Reno to see if there were any drugs 2 A. I didn't see him again that day.
3 nearby? 3 Q. Now that police report you have in
4 A. | would expect them to look, yeah. 4 — front of you, that’s the one you authored, that
5 @. They didn't find anything from what you 5 one; is that correct?
6 know; is that correct? 6 A. Yes.
7 A. Yeah, that's correct. 7 Q. And then this is what you reviewed in
8 Q. Now, you had said that you observed two 8 preparation for this deposition; is that right?
9 transactions prior to the transaction with 9 A. This report in front of me?
10 Harris; is that right? 10 Q. Correct.
+4 A. Yes. 11 A. Yes.
12 Q. Did you find any — you didn't find any 12 Q. You don't say anything in this report
13. large sum of money on Reno, did you? 143 about observing transactions, two transactions
14 A. | didn't find anything on Reno. 44 prior to Harris coming and doing a transaction,
45 Q. Right. Did it surprise you that he 15 do you?
16 didn't have any money or drugs or marked money [16 A. No, | do not.
17 in his possession or nearby? 17 Q, Allright. ts there any particular
18 A. That doesn't surprise me one bit. 18 reason why you wouldn't say that?
1g Q. No? Did you ever determine where he 19 A. | didn't feel ike there was enough
20 was getting the drugs from that he was selling 20 ~— evidence to say that those transactions were
21 ~—« to these various people like where he was 21 ~~ narcotics-related or if he was doing anything
22 — stashing it? 22 else wrong. Just what struck me was unusual as
23 A. | don't know if he stashed any drugs. 23 a possible narcotics transaction at that time
24 ~=|don't know. | didn't nave that type of 24 caught my interest and decided to set up on it

58 |

 

60

 

15 (Pages 57 to 60)

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1 and send an undercover officer to go ahead and 1 have wrote it down on @ piece of paper and
2 try to purchase narcotics from him to see if he 2 handed me a piece of paper with the number on
3 was indeed up to selling narcotics. 3 it. | don't remember in this case which of the
4 Q. Okay. You relate in your report the 4 two if was.
& conversation between Reno and Harris. For 5 Q. Okay. And who would be the one that
6 example, you say UCO asked Reno for rocks. Reno 6 you would ask about that? Would there be a
7 ~~ then asked UCO how many did UCO want. You 7 particular person you would ask about that or
8 — didn't hear that, or did you hear that? 8 no?
9 A. | think you're looking at a different 9 A. 1would start off by asking the officer
10 report. 10 ~~ that inventoried the narcotics or | could ask
11 MS. BENSON: | think that's Harris's. 11 Officer Harris who's preparing a similar report
12 MR. FOX: I’m sorry. Let's go to your 12. and he might already nave the information.
13° report. 13 Q. Did you ever see the drugs that Harris
14. BY MR. FOX: 14 said that Reno sald to him?
15 Q. You don't say anything or do you say 15 A. | don't remember.
16 — anything in this report about observing Harris 16 Q, Back at the station you guys -- there's
17 ta hand money to Reno? 17  aroom you guys sit in where you do all of your
18 A. No, | didn't. 18 paperwork together; is that right?
19 Q. Any particular reason why you didn’t 19 A. Yes.
20 say you observed Harris hand money to Reno? 20 Q. Do you weigh the drugs that you get in
21 A. You know, | might have just teft it 21.‘ that room as well?
22 ~~ out. | don't really have a reason. 22 A. Typically we weigh the drugs if they're
23 Q. When did you write this report? 23 ~=«‘like an exorbitant or maybe just a large amount.
24 A. The day of the incident. 24 ‘In this case I'm pretty sure we did not weigh
64 63
4 @. Did you make arrests of any other 1 the narcotics.
2 persons on this particular day? 2 Q. Did you do a field test for it back at
3 A. |think so. | don't remember exactly. 3. the station or anywhere?
4 Q. Do you recall if anybody else gave you 4 A. Sometimes depending on the
5 any information, any other arrestee or suspect 5 _ investigation or tt depends what we're doing,
6 gave you information to the effect that they 6 what type of reports are necessary.
7 — thought Reno or this guy matching his 7 Q. Do you know if you did a field test in
8 description was dealing narcotics? 8 this case?
g A. No, nothing like that. 9 A. | don't think we did.
10 Q. Other than the report we were just 10 @. Bo you know any particular reason why
11 looking at, Gonzalez 1, did you author any other 11. not?
12 documents at all, either reports or inventory 12 A. Because it was going to be sent ta the
43 reports or anything? 13 Illinois State Lab for testing and analysis.
14 A. Idon't believe so. I don't have a 14 Q. Right. But that's done often when you
15 recoflection of preparing any other reports that 15 doa field test anyway, isn't it?
16 day. 16 A. The field test is not as good as the
17 Q. Allright. You know in your report on 17 Illinois State test.
18 the second page you have the inventory number of | 18 Q. Right. So, well, sometimes you do a
1S the narcotics. Do you see that? 19 field fest, though, don't you?
20 A. |do, 20 A. Ido, yes, sometimes when I'm typing a
21 Q. Where did you get that number from? 21 search warrant or samething where a judge mignt
22 A. It's very typical that before | start a 22 need probable cause immediately.
23s report, sometimes | might ask the inventorying 23 Q@. And the inventory sheets for these
24 — afficer what the inventory might be or he might 24 things you guys fill out the report and the

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16 (Pages 61 to 64}

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1. inventory reports for this thing all in the same ' 1 made any other arrests this particular day?
2 room? 2 A. Yeah. | don't know for sure.
3 A. Not necessarily. Our room is pretty 3 @. What time did your shift start on this
4 small with three computers. Sometimes ofher 4 day? What watch did you work?
5 officers are preparing reports elsewhere like in 5 A. It's mostly a morning watch but shift
6 the detective division area where there's a lot 6 times vary especially during a Surgical Strike
7 more computers. So we might be split up. 7 ~~ Mission. 1 don't know what time we started that
8 Q. Did that happen in this case where you 8 day.
9 guys Split up or do you remember? 9 Q. This happened toward, well, after 4:00
40 A. | don't remember. 10 o'clock, correct?
11 MR. FOX: Allright. I'm going to show you 11 A. 4:00 p.m., yeah.
12 we'll call this Gonzalez 2. This is the 42 Q. So this would have been toward the end
13. inventory report. 13. of your shift?
14 (Whereupon, Gonzalez Deposition 14 A. | don't know if it's the end of the
15 Exhibit No. 2 was marked for 15 — shift. I'm nat sure.
16 identification. } 16 Q. After this arrest and after you're done
17 BYMR. FOX: 17 with the paperwork, do you recall if you went
18 Q. So this is the inventory report for the 18 back out on the street and did more patrolling
19 narcotics that were recovered; is that right? 19 of more investigating?
20 A. It looks like it is. 20 A. | do not recall.
21 Q. Allright. And this was -- and can you 21 Q. Did you ever follow-up in any fashion
22 teil who prepared this report fron looking at 22 ~~ either by asking questions or doing your own
23. «it? 23 ~—s investigation at any time after this to see if
24 A. You know, it says Jerome Hoffman was 24 ~=you could locate the 1505 funds or any other
65 67
1 the first officer so he might have been the one, 1 drugs that Rene might have had?
2 but | couldn't just teil by that for sure. 2 A. No.
3 Q. Toward the bottom you're saying where 3 Q. You know, as you sit here today, is it
4 you sée first officer's name? 4 possible that maybe it was the wrong -- that
5 A. Yeah. That's typically who inventories 5 Harris pointed out the wrong guy doing the buy
6 it but not all the time. 6 with?
7 Q. Allright. By looking at this, does 7 A. No, it's not possible.
8 that refresh your recollection as to whether or 8 Q. No?
9 not he was working in the same room as you when 9 A. No.
10 these reports were being written? 10 MR. FOX: All right. | have nothing further.
14 A. That does not refresh my memory as ta 11 MS. BENSON: Okay. We're all set. We'll
42 whether or not he was in the same room or 12s reserve Signature.
43. inventorying this. 13 FURTHER DEPONENT SAITH NOT.
14 Q. Right. This inventory report has a 14 (Proceedings concluded at
15 — slightly different inventory number than the one 45 2:25 p.m.)
16 you recarded in the police report. 16
17 A. That's correct. 17
18 Q. Do you know why that is? 18
19 A. It looks like the one digit is off. 19
20 The four might have looked like a nine, and the 20
21 nine might have locked like a four. A mistake 21
22 ‘typo might have occurred. Probably my fault. 22
23 Q. I'm sorry. [ think | asked you that. 23
24 ~~ | forgot what you said. Do you recall if you 24

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17 (Pages 65 to 68)

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1 STATEOFILUNGIS )} 1 said witness, and afterwards reduced to
2 ) SS: 2 lypewriting by Computer-Aided Transcription, and
; COUNTYGESOGE: :) 3. the foregoing is a true and correct transorint
§ JN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS | 4 ofthe testmony se given by said witness as
8 COUNTY DEPARTMENT - LAW DIVISION 5 aforesaid
T rae ENO, | 6 | further certity that the signature to
piribt,
8 e )No. 10CV 8114 7 the foregoing dlepasiion wars reserved by counsel
City of Chicago Police) 8 forthe respective parties and that there were
9 OffcerKEITHHARRIS, 4 9 = present a! the deposition the aliomeys
0 Star ete” } 10 hereinbefore mentioned
A i ‘
" |, NELSON GONZALEZ, being first duly P {further certify (hat | am not counsel
12 aworn, on cath say that | am the depanent in the 12 for nor in any way related to the partes lo
13 aforesaid cepoailion taken on Septeriber 28, 13. (his suit, nor arn | in any way interested in tha
14 2011) that| have read the foragaing transcrip! 14 quicome thereof,
Te Mone eee eitin my‘ aipniature to 15 IN TESTIMONY WHEREOF: | have hereunto
7 : 16 set my hand and affimed my notarial seal this
NELSON GONZALE? 17 16th day of January, 2012 1
14 18 i
19 Subserlbad and swor to ‘ ? .
before me thls day 19 Qo as 7
200 oof Bow 20
21 21
22 22 NOTARY PUBLIC, COOK COUNTY, ILLINOIS = |
Notary Publle 24
23 }
2d 2d
6a T1
jn * j
MeCoekin Court Wi
| Moxounas > | githaeeme
3 COUNTYOFCOOK a. CATE: Novant, S04
4 |, Jennifer Buckley, a notary public 5 mae ae se deaeaaac ut:
5 within. and for the County of Cook County and 200 Wert Adanrs Street, Suma 400
6 (Chicago. nos §0809
6 State of lilinois, do hereby certity thal 7  INPRE: Renoy, Cay of Crveago
7 heretofore, 1o-wil, on September 26, 2011, : ech cea |
8 personally appeared before ma, al 300 West Adams 9, DRPONRNTH: Car tinwan: Cacia
8 Street, Suite 330, Chicago, illinois, NELSON ‘a Dus Me Benson: |
10 GONZALEZ, in a couse now pending and Kacionee i nepal tipi ah 4
11 undetermined in the United States District Court Mee Teer daaeremtantikatemincahciviie
2 a ble, show
12 wren MOMAEL RENO ae Pe ensciy | er saa
a : | 4 and serie: a eraaees De nerracde at
14 #19542, City of Chicago Police Officer JEROME : be mace ee tha arrota preete. estan he |
1 ri A erala
15 ee ee Clty ee . mgd 8 ste pape Noe 0 Soret
16 Officer SCHER, City of Chicago ce r 128 and note
17 Aftarthe nt has completed tw abovw,
17 NELSON GONZALEZ, Star #7236 and the CITY OF J pteae rts al gna pages and erat
18 CHICAGO are Ine Defendants. = huneile dligtributier to the FaRDectA parties
19 | further certify that (he said NELSON Wp any nice, iain a a tin
20 GONZALEZ was first duly sworn to testify the a phone number below
27 truth, the whole truth and nothing bul the trulh Sincoroly,
23. given by said witness was reported a surmise Cajartoeht’ dueeier Sika
24 ~~ stenographically by me In the presence of the a4
70 72)
18 (Pages 69 to 72)

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_ Narcotics Section Supplementary Report HR-240329 -
CHICAGO POLICE-FOR USE BY B.LS. PERSONNEL ONLY
Delivery of a Controlled Substance | 2017 DNA
(Crack Cocaine) - L
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1 RENO, Michael B. 024 q/ DNA 1 | oO No No
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EVENT NUMBER: 12434 = INCIDENT NUMBER: 900400 RAID NUMBER: XXX-XX-XXXX RD. NUMBER: HR-240328
This ts A Narcotics Section Investigation Officers Report By Beat 6277

OPERATION / MISSION #- SURGICAL STRIKE MISSION
OFFENDER(S): IN CUSTODY: RENO, Michael B. IR#771251 SS#XXX-XX-XXXX
me LKA: 11221 S. Emerald; M/1/40, DOB 27-APR-68, 6'01", 225ibs,

Med Comp., Black Hair, Bro Eyes. Wearing; Black skull cap, black
hooded sweatshirt and black jeans with orange trim, blue and

white gym shoes.
GANG AFFILIATION(S): ack P-Stone
CHARGE(S): 720 ILCS 570/401 Delivery of a Controlled Substance
POLICE PERSONNEL ON SCENE: NARCOTICS TEAM B-5

Superviser / Survelllance..........SG7 D. Butler # 1683
Undercover Buy Officer..............PO K. Harris #19542
Survelllance Officer.....................PON. Gonzalez # 7235
Enforcement Officer...................P0 B. Konior #13265
Enforcement Officer.,...................POR. Sanchez #9314

 
  
  

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Event Number: 12434 = incldent Number; 900490 Raid Number: XXX-XX-XXXX ROD Number: HR-240329
This Is A Narcotics Section Investigation Officers Report By Beat 6277

 

 

 

 

Page 2
NARCOTICS TEAMS B-3 & B-2 Co,
Supervisor / Surveillance.........5GT K. Blanks # 1674
Survallfance Officer.......... severeesaae PO D. Gadlen #15936
Survelllance Officer.......u.........PO S. Grubbs # 4758
Survelllance Officer... sere POP. Thompson #7375
Enforcement Officer........eenePO K, Shaar #9039
Enforcement Officer..............O J. Hoffman #19710
EVIDENCE RECOVERED 77 TRVENTORY #11627589: (1) - Clear plastic knotted bag

 

containing a white chunky-like substance, suspect crack cocaine.
Purchased from RENO by PO Harris #19542.

TOTAL WEIGHT & STREET VALUE: ESW: 0.2 g, ESV $24.60 USC

PURCHASE PRICE’ _310.00-4SE trom prerecorded CPD 1505 funds(Not Recovered)
PRE-RECORDED FUND SHEET INV#s: 11615871.

EVIDENCE OFFICER: ° PO J. Houffman #19110

NOTIFICATIONS: OEMC Operator Willlams #7, 1803 hrs

The following narrative is a summation of events and should not be considered a verbatim account.
HISTORY OF INVESTIGATION:
This investigation was formulated as part of The Surgical Strike
Mission in an effort to quell viclent crime associated with narcotics related activities. Area 2 Narcotics Teams B-5,
B-2, and B-3 formulated a plan to conducta controlled undercover narcotics purchase in the area of 79" Streetand
East Essex Avenue. R/O, In an undercover capacity, conducted surveillance in the area of approximately 2501 E,
79° ST.

R/O observed the UCO (PO K. Harris #19542) drive his UCV
and park south of 79" ST on Essex Avenue. The UCO axit his vehicle and proceeded to walk to a M/1 wearing a
black hooded sweatshirt and black jeans with orange fim (NKA: RENO, Michael B. 1IR#771251) onthe Northwest
corer of Essex and 79" ST fn front of "ABC" cellular store (2458 E, 79" ST). UCO had a brief conversation with
RENO then proceeded fo follow RENO to approximately 2459 E. 79" ST where the UCO waited as RENO briefly
walked inside the store located at 2459 E. 79" ST. RENO retumed from the store and immediately proceeded to
conduct a hand-to-hand transaction with the UCO, R/O then observed a marked CFD patrol vehicle drive nearby
at approximately 2458 E, 79" ST, RENO walked back into the store located at2459 E. 79" ST as the UCO entered
his UCV and drove away out of view.

R/O monitored a radio transmission from the UCO explaining
that the transaction was positive for suspect crack cocaine from RENO. UCO gave a description of RENO as well
as his last known location. R/O directed enforcement officer toward the store where RENO was last seen. The
ehforcement officers were able to quickly locate RENO inside the store. They escorted RENO outside where the
UCO was able to positively identify RENO as the the subject that sold him the suspect crack cocaine.

Arrest was made; case closed,

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